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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO.: 2:22-cv-14l02-DMM

   DONALD J. TRUMP,

           Plaintiff,

   v.

   HILLARY R. CLINTON, et al. ,

           Defendants.

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                             DECLARATION OF DEBORAH A. CRUM

           I, Deborah A. Crum, declare as follows:

   1.      I am employed by the Federal Bureau ofInvestigation   (FBI) as a Supervisory Paralegal

   Specialist, currently assigned as the Unit Chief of the Discovery Unit (DU), Litigation and

   Technology Management Section, Litigation Branch, Office of the General Counsel (OGC),

   located in Washington, D.C. I have served in this capacity from approximately September, 2010

   to present.   I have been employed by the FBI since April, 1990.

   2.      The statements contained in this declaration are based upon my personal knowledge,

   review and consideration of documents available to me in my official capacity, discussions with

   OGC counsel involved with this matter, and on information obtained from other FBI employees.

   3.      I have access to the records contained in the FBI's Central Records System (CRS). I am

   also personally familiar with the FBI records maintenance and retrieval system.

   4.      The records in the CRS include administrative claims submitted to the FBI under the

   Federal Tort Claims Act. All administrative claims submitted to the FBI are indexed into the

   CRS. Once indexed, a record of an administrative claim is retrievable through a search of the
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    general indices to the CRS. In short, the CRS is the official system of records for all

    investigative, administrative, and official business of the FBI.

    5.     The CRS enables the FBI to maintain information that it has acquired in the course of

    fulfilling its mandated law enforcement responsibilities. The records maintained here consist of

    administrative, applicant, criminal, personnel, and other files compiled for law enforcement

    purposes. Searching the CRS is the means by which the FBI can determine what retrievable

    information, if any, the agency may have in its files on a particular subject matter or individual.

    6.      The DU is responsible for locating, reviewing, and processing for release any and all

    responsive materials which pertain to litigation and administrative matters in which the FBI is

    either directly or indirectly involved.

    7.      I oversee the paralegals of the DU. At my direction, a diligent search of the general

    indices to the CRS was conducted on July 8, 2022. This search of the CRS did not locate any

    administrative claim submitted by or on behalf of the Plaintiff Donald Trump directly to the FBI.

            I declare under penalty of perjury that the forgoing is true and correct to the best of my

    knowledge and belief.

            Executed this ~ay          of July 2022.




                                                           Unit Chief
                                                           Discovery Unit
                                                           Office of the General Counsel
                                                           Federal Bureau of Investigation
                                                           Washington, D.C.




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